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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA

Vv. Case No: 8:23-cr-388-TPB-CPT
MATTHEW FREDERIC BERGWALL
/
NOTICE REGARDING ENTRY
OF A PLEA OF GUILTY

In the event the Defendant decides at any time before trial to enter a plea of guilty, the
United States Magistrate Judge is authorized by Local Rule 1.02, Middle District of Florida
Local Rules, with the consent of the Defendant, to conduct the proceedings required by Rule
11 of the Federal Rules of Criminal Procedure, incident to the making of the plea. If, after
conducting such proceedings, the Magistrate Judge recommends that the plea of guilty be
accepted, a presentence investigation and report will be ordered pursuant to Rule 32 of the
Federal Rules of Criminal Procedure. The assigned United States District Judge will then act
on the Magistrate Judge’s Report and Recommendation and, if the plea of guilty is accepted,
will adjudicate guilt and schedule a sentencing hearing at which the District Judge will decide
whether to accept or reject any associated plea agreement and will determine and impose
sentence.

CONSENT

I hereby declare my intention to enter a plea of guilty in the above case and I request
and consent to the United States Magistrate Judge conducting the proceedings required by
Rule 11 of the Federal Rules of Criminal Procedure, incident to the making of such plea. I
understand that if my plea of guilty is then accepted by the District Judge, the District Judge

will decide whether to accept or reject any plea agreement I may have with the United States
and will adjudicate me guilty and impose sentence.

Date: July 11, 2024

KD.

Attorney for Defendant

